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         Case 1:16-cv-07762-RA Document 69-1             Filed 06/20/17   Page 1 of 2
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UNITED ST ATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                      ELECTRO:"iICALLY F!LEi)          I
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MANUEL DELEG,
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                                                 )
                                   Plaintiff,    )
                                                 )
                    v.                           ) Docket No. 1: 16-CV-07762 (RA)
                                                 )
                                                 )
CROMAN REAL ESTATE, INC, CROMAN FAMILY )
AS SOCIA TES, LLC, 9300 REAL TY MANAGEMENT )
INC., 151 RIVINGTON HOLDINGS LLC, 153            )
RIVINGTON LLC, 182 ST ANTON LLC, 186             )
A VENUE B NY LLC, 215 A VENUE B REAL TY LLC, )
326-338 E. lOOrn LLC, 380-382 E. 10rn LLC, MAJOR )
PERRY STREET CORP., 134 ORCHARD LLC, and         )
STEVEN CROMAN,                                   )
                                                 )
                                   Defendants.   )
                                                 )




                 ORDER OF FINAL DISMISSAL WITH PREJUDICE

       WHEREAS, on May 24, 2017, the Court entered an Order (signed on May 23,

2017), approving the parties' proposed Settlement Agreement and General Release

("Settlement Agreement"), which had been submitted to the Cou1i on May 12. 2017,

together with a Fairness Letter explaining all of the bases for the Settlement Agreement:

and

       WHEREAS, on May 24, 2017, the Court's Order (signed on May 23, 2017) approved the

Settlement Agreement in its entirety and directed that the parties submit this proposed Order of

Final Dismissal with Prejudice; and

       WHEREAS, the pa1iies have now filed an executed copy of the Settlement Agreement on

the public ECF Docket (Docket No. 68), as directed by the Court on May 24, 2017 (signed by
     Case 1:16-cv-07762-RA            Document 70           Filed 06/21/17    Page 2 of 2
         Case 1:16-cv-07762-RA Document 69-1                Filed 06/20/17   Page 2 of 2




the Court on May 23. 2017); and

       WHEREAS, the parties intend that the Settlement Agreement and this Order of Final

Dismissal with Prejudice fully resolve all disputes between them;

        IT IS HEREBY ORDERED as follows:

         1.    The Settlement Agreement is approved in its entirety;

        2.     Without affecting the finality of this Order of Final Dismissal with Prejudice, the

 Court retains jurisdiction over this case to enforce and construe the Settlement Agreement in

 accordance with its terms for the mutual benefit of the parties. The parties shall abide by all

 terms of the Settlement Agreement, which are incorporated herein and are hereby ·'so ordered,"

 as well as this Order of Final Dismissal with Prejudice.

        3.     The Parties having so agreed, this Order of Final Dismissal with Prejudice is

 hereby entered as a final order of the Court, and this case is dismissed with prejudice. and the

 Clerk is respectfully requested to close this case.


Dated: New York, New York
       June 20, 2017


                                                       So Ordered:


                                                       Hon. Ronnie Abrams
                                                       United States District Judge




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